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Attorneys for Defendant


                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )   Case No. CR-2023-173-BLW
                                                      )
 vs.                                                  )   MOTION TO CONTINUE TRIAL
                                                      )   READINESS CONFERENCE AND
 DEANN PARKIN,                                        )   TRIAL
                                                      )
                Defendant.                            )
                                                      )



               COMES NOW, Deann Parkin, by and through counsel, and respectfully moves the

Court pursuant to 18 U.S.C. '3161(h)(7) to continue the trial readiness conference scheduled for

August 3, 2023, and trial scheduled for August 14, 2023, on the grounds that defendant is

continuing investigation in the facts of this case.

               Defendant needs additional time to complete the investigation to adequately

prepare for trial. Defendant respectfully requests that the trial readiness conference and trial be

continued for an additional ninety (90) days to allow Defendant time to complete investigation.

               Defendant has not previously requested a continuance in this matter.




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               Defendant represents that counsel for the government does not object to the

continuance.

               Defendant suggests that any delay in the hearing is justified by the ends of justice

and would allow for Defendant to complete investigation into the facts of this case.

               Defendant Parkin has been informed and consents to the continuance requested.

               DATED this 1st day August 2023.



                                             By:        /s/ Matthew L. Kinghorn
                                                   Matthew L. Kinghorn


                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that the foregoing document was electronically filed with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following person(s):

Justin.Paskett@usdoj.gov


                                             ______/s/__Matthew L. Kinghorn____________
                                                   Matthew L. Kinghorn




MOTION TO CONTINUE- 2
